
WRIGHT, J.
was of opinion the evidence was inadmissible to disqualify the witness, as calling in question his religious belief, a matter of conscience, which the constitution of Ohio, Art. 8 sec. 3, declares “no human authority can, in any case whatever, interfere with.”
WOOD, J. was of opinion the evidence was admissible.
■ The court being equally divided, the defendant was permitted to proceed with his examination..
346] *Farwell swore he had heard witness say he did not believe in the existence of a God. He said he saw God in trees, bushes, herbage, and everything he saw — that he believed in future punishments during this life, not beyond: and if he did anything Wrong he was condemned in his conscience.
John Beatty had heard the witness say,
he was no more obliged 'to tell the truth when under oath than without — that he would not' be punished except in his own conscience. The only punishment was that of a good or bad conscience.
Mr. Campbell had heard witness say,
he was bound at all times to tell the truth, but being sworn did not impose any additional obligation upon him to tell the truth — there was no other punishment except in his own conscience.
WRIGHT, J. The declarations of the witnesses do not sustain the objection. The witness does believe in the existence of a God. He sees him in all created nature. We concur in opinion that the witness by the proof introduced, is not rendered incompetent to testify.
For myself individually, I cannot but think that under our constitution this is a subject the courts ought not to touch. You take a man’s loose declarations and introduce them against him, without assurance that those who give them do not think as he does, and then adjudge that he is incompetent to testify, although ypu believe he will tell the truth, and would confide in him as soon as in any man: thus setting up a religious test by which to measure his civil rights. The legal obligation to tell the truth, and the liability to punishment if the witness depose false, is all, as I think, our law requires. The cause of religion and good morals, whose foundation is love, charity, and good works, can never be advanced by such examinations into the opinions and belief of men, and holding to those of a particular standard, the pharisaical language, “Stand back, I am holier than thou.” You swear a Hindo, an Indian, a Mahomedan, but reject a citizen because his belief is not up to a particular standard.
[Witness disbelieving in future accountability, but believing in God’s superintending power, and moral obligation of oath, is competent, cited and followed; Brock v. Milligan, 10 O. 121, 126.]
